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11
12                             UNITED STATES DISTRICT COURT
13                            CENTRAL DISTRICT OF CALIFORNIA
14    LORETTA APODACA, individually and )             Case No. CV12-5664 DSF (Ex)
      on behalf of all others similarly situated, )
15                                                )   COSTCO WHOLESALE
                   Plaintiffs,                    )   CORPORATION’S MEMORANDUM
16                                                )   OF POINTS AND AUTHORITIES IN
            v.                                    )   SUPPORT OF ITS MOTION FOR
17                                                )   SUMMARY OR PARTIAL SUMMARY
      COSTCO WHOLESALE                            )   JUDGMENT
18    CORPORATION and DOE 1 through and )
      including DOE 100,                          )   (Filed Concurrently with Notice of
19                                                )   Motion and Motion, Statement of
                                                  )   Uncontroverted Facts and Conclusions
20                 Defendants.                    )   of Law, Request for Judicial Notice,
                                                  )   Declaration of Joni Hammer, [Proposed]
21                                                )   Judgment, and [Proposed] Order)
                                                  )
22                                                )   Date: October 22, 2012
                                                  )   Time: 1:30 p.m.
23                                                )   CtRm: 840
                                                  )
24                                                )   Complaint Filed: May 17, 2012
                                                  )
25
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 1                   INTRODUCTION AND SUMMARY OF ARGUMENT
 2          This “gotcha” lawsuit alleges technical violations of the California Labor Code
 3    section that governs an employer’s issuance of wage statements to employees. All of our
 4    section references here are to the Labor Code, unless otherwise specified.
 5          The Plaintiff, Loretta Apodaca, once worked for Costco Wholesale Corporation.
 6    She alleges that her wage statements from Costco were deficient, in three respects:
 7          First, she alleges that Costco, in providing electronic wage statements, violated
 8    Section 226(a) because her statements were not “detachable.” But Section 226(a) merely
 9    requires that the statement be “detachable” or “separate” and “in writing.” Both the plain
10    meaning of Section 226 and the official interpretation of the California Division of Labor
11    Standards Enforcement supports Costco’s position that Section 226(a) permits electronic
12    wage statements, and Apodaca could obtain a printed wage statement if she requested
13    one. In any event, Costco had a good-faith basis to believe it was complying, which
14    precludes any finding of the knowing and intentional violation that Apodaca would have
15    to prove to recover penalties under Section 226(e). Further, because Apodaca was able to
16    request a printed wage statement, she did not suffer an injury, again precluding Section
17    226(e) penalties.
18          Second, Apodaca alleges that Costco’s wage statements failed to list “total hours
19    worked” in violation of Section 226(a)(2). But Costco did list Apodaca’s recorded
20    regular, overtime, and doubletime hours worked, and thus complied with Section 226.
21    Moreover, Costco had an objective, good-faith basis to believe that its wage statements
22    were compliant, and Apodaca did not suffer an injury because she could easily calculate
23    her grand total of hours if she so desired. As such, Costco is not liable for Section 226(e)
24    penalties.
25          Third, Apodaca alleges Costco failed to list “rates of pay,” in violation of Section
26    226(a)(9). But she could easily compute her regular, overtime, and doubletime rates
27    simply by dividing the recorded amounts she was paid by the recorded hours she had
28

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 1    worked. Because she thus suffered no injury from an omission of regular and overtime
 2    rates, Costco is not liable for penalties. Lab. Code § 226(e).
 3          A final problem with Apodaca’s complaint is that she seeks injunctive relief as a
 4    former employee. Her request fails for lack of standing.
 5                                   STATEMENT OF FACTS
 6          1.     Printed Wage Statements are Available for Costco Employees
 7          Costco is a retailer that operates over 100 retail warehouses in California. Apodaca
 8    was, since February 23, 2004, a non-exempt Bakery Manager at Costco’s Norwalk,
 9    California warehouse. In April 2012, she changed employment positions and became a
10    non-exempt Front End Assistant. (SUF 14.) On May 24, 2012, her employment with
11    Costco ended. (SUF 15.)
12          As of March 2007, Apodaca had authorized Costco to pay her wages via direct
13    deposit into her bank account. (SUF 1.) Before June 2011, she and other Costco
14    employees received printed wage statements. (SUF 2.) In June 2011, Costco
15    implemented an ePayroll system, which gave employees the option to receive an
16    electronic wage statement. (SUF 3.)
17          Costco announced a forthcoming ePayroll system in the March 2011 issue of
18    “Costco Today,” a magazine for Costco employees. (SUF 5, 6.) An article on page three
19    of this issue explained that employees (such as Apodaca) who were receiving their pay
20    via direct deposit would be receiving their wage statement electronically, unless they
21    asked their local payroll clerk for printed statements. (SUF 5.) Employees receiving
22    electronic wage statements would be able to access their wage statements via telephone,
23    Costcopaycheck.com, and Costco’s intranet. (Id.) Around this time, Costco also issued a
24    new Direct Deposit Enrollment Form, which similarly notified employees that they
25    would be able to continue to receive printed wage statements. (SUF 9.)
26          At all relevant times the Norwalk warehouse has had available for employee use,
27    in the employee break room, a computer terminal, with printing capability. (SUF 7.) On
28

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 1    that computer terminal issues of Costco Today, including the March 2011 issue with its
 2    article on ePayroll, remain available for employee viewing. (SUF 8.)
 3           In preparing to release the new ePayroll system, Costco instructed the local
 4    warehouse payroll clerks, in May 2011, to provide printed wage statements to employees
 5    who requested them, starting with the June 9, 2011 payroll. (SUF 10.) Payroll clerks
 6    received instructions on how to print wage statements. (Id.) Elayne Bastian, the payroll
 7    clerk at the Norwalk warehouse, stapled to each employee’s wage statement a pamphlet
 8    describing the new ePayroll system. (SUF 11.) This distribution occurred before the
 9    ePayroll system went into effect. (Id.) The pamphlet informed employees that they
10    would be able to access wage statements online or by telephone and that they could save
11    or print their electronic wage statements as needed. (SUF 12.)
12           Under the ePayroll system, then, employees had option to continue to obtain
13    printed wage statements, and employees at the Norwalk warehouse have in fact obtained
14    paper statements.1 (SUF 5, 7, 9-13.) Employees at the Norwalk warehouse also can print
15    their wage statements at work by using the employee break room computer. (SUF 13.)
16           2.    Costco Wage Statements Contain Total Hours Worked & Rates of Pay
17           During the relevant one-year period preceding the filing of this action,2 Costco
18    wage statements for Apodaca contained the following relevant information:
19                                  Hours         Hours        Dollars         Dollars YTD
                                                  YTD
20
          Regular Pay
21
          Overtime Pay
22
23        Doubletime Pay
24
25
      1
26      Apodaca apparently could obtain a printed wage statement, as she attached one to her
      May 17, 2012 Class Action Complaint. That statement was a printed copy of her
27    electronic wage statement for the two-week pay period of March 14 to March 27, 2011.
      2
        A request for penalties for failure to provide accurate wage statements is subject to a
28    one-year statute of limitations. Code Civ. Proc. § 340.
                                                   3
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 1    (SUF 16, 17.) The wage statements thus showed all the hours that an employee worked
 2    at regular, overtime, and doubletime rates of pay, both during the pay period and during
 3    the year to date. (SUF 16.) The statements also recorded for each pay period and year to
 4    date the amount of regular, overtime, and doubletime pay that the employee received.
 5    (SUF 17.) As such, Costco employees could determine their regular, overtime, and
 6    double time rate of pay simply by dividing, for each category, the amount paid by the
 7    hours worked.
 8          3.     Apodaca’s Allegations Regarding Non-Compliant Wage Statements
 9          Apodaca sued on May 17, 2012, alleging failure to provide information on wage
10    statements in violation of California Labor Code § 226. (Plaintiff’s Class Action
11    Complaint, Filed May 17, 2012, Los Angeles Superior Court, Case No. BC 484909
12    [“Complaint”].) Apodaca seeks to represent all Costco employees who received a pay
13    check from Costco during the relevant time.3 Complaint ¶ 10.
14          Even though Costco provided the option to choose between an electronic and
15    printed wage statement, Apodaca contends that Costco, by providing electronic wage
16    statements, violated Section 226(a) by failing to “furnish each of [its] employees, either
17    as a detachable part of the check, draft, or voucher paying the employee’s wages, or
18    separately when wages are paid by personal check or cash, an accurate itemized
19    statement in writing.” Lab. Code § 226(a); Complaint ¶ 8.
20          Apodaca also alleges that Costco violated Section 226(a)(2) by failing to list “total
21    hours worked by the employee,” even though Costco’s wage statements clearly list her
22    total recorded regular, overtime, and doubletime hours worked. Lab. Code § 226(a)(2);
23    Complaint ¶ 9.
24          Finally, Apodaca alleges that Costco violated Section 226(a)(9) by failing to list
25    “all applicable hourly rates in effect during the pay period and the corresponding number
26
      3
        Apodaca ignores that some Costco employees received printed wage statements. She
27    also fails to distinguish between non-exempt and exempt employees in defining her class
      (total hours worked and rates of pay are inapplicable for exempt employees and need not
28    be listed on their wage statements).
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 1    of hours worked at each hourly rate,” even though she could access this information
 2    simply by dividing the amount paid by the recorded hours worked in each category. Lab.
 3    Code § 226(a)(9); Complaint ¶¶ 8, 9.
 4           4.    The Relief Sought
 5           Apodaca seeks penalties, on behalf of the entire class of employees, for these
 6    alleged violations under Section 226(e), which provides that “[a]n employee suffering an
 7    injury as a result of knowing and intentional failure by an employer to comply with
 8    subdivision (a) is entitled to recover” penalties. Lab. Code § 226(e) (emphasis added);
 9    Complaint ¶ 22, Prayer for Relief ¶ 2. Apodaca’s only alleged “injury” is that her wage
10    statements were “inherently confusing and issued in derogation of the rights of the
11    employee” and that it was a “waste of time and money to recover…data electronically.”
12    Complaint ¶ 9. She does not allege that she suffered injury because her wage statements
13    did not accurately reflect her recorded work hours.
14           Apodaca also seeks injunctive relief, even though she is a former employee who no
15    longer can expect to receive wage statements from Costco. Complaint, Prayer for Relief
16    ¶ 2.
17                                           ARGUMENT
18    I.     THE SUMMARY JUDGMENT STANDARD

19           Summary judgment is appropriate when “there is no genuine issue as to any
20    material fact.” Fed. R. Civ. P. 56. The moving party has the initial burden of
21    demonstrating the absence of a fact or facts necessary to prove each cause of action upon
22    which the moving party seeks judgment. See Celotex Corp. v. Catrett, 477 U.S. 317,
23    323, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986). Once the moving party meets its initial
24    burden, the nonmoving party must go beyond the pleadings and “set forth specific facts
25    showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e.) “To show the
26    existence of a ‘genuine’ issue ... [a plaintiff] must produce at least some significant
27    probative evidence tending to support the complaint.” Smolen v. Deloitte, Haskins &
28    Sells, 921 F.2d 959, 963 (9th Cir. 1990). If the nonmoving party fails to show a genuine

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 1    issue of fact, “the moving party is entitled to judgment as a matter of law.” Celotex, 477
 2    U.S. at 323.
 3    II.   COSTCO COMPLIED WITH SECTION 226(A) BY FURNISHING SEPARATE,

 4          WRITTEN WAGE STATEMENTS

 5          A.       Costco Provided Separate, Written Wage Statements
 6          Apodaca alleges that Costco, in providing electronic wage statements, failed to
 7    furnish detachable wage statements. Complaint ¶¶ 8, 21. This allegation is simply not
 8    true and reflects a misunderstanding of Section 226(a).
 9          Section 226(a) itself does not require that wage statements appear in paper form.
10    The following language of the statute (with some emphases supplied) requires only that
11    the statement be furnished “separately” and “in writing”:
12          Every employer shall, semimonthly or at the time of each payment of wages,
            furnish each of his or her employees, either as a detachable part of the
13
            check, draft, or voucher paying the employee's wages, or separately when
14          wages are paid by personal check or cash, an accurate itemized statement in
            writing ....
15
16    Costco’s electronic wage statements met both the “separately” and “in writing” elements
17    of this requirement. At all relevant times, Apodaca was able to view a written copy of
18    her wage statement, separate from her payment of wages, either on her own computer
19    screen, on the computer screen available in the employee break room at the Norwalk
20    warehouse, or on a paper copy that she could print at home or at the Norwalk warehouse.
21    (SUF 4, 5, 12-14.)
22          The California Department of Labor Standard Enforcement (“DLSE”) agrees that
23    electronic wage statements satisfy Section 226(a) where “each employee retains the right
24    to elect to receive a written paper stub or record and [where] those who are provided with
25    electronic wage statements retain the ability to easily access the information and convert
26    the electronic statements into hard copies at no expense to the employee.” DLSE
27    Opinion Letter 2006.07.06, at 2-3. The DLSE reasons that providing an electronic
28    statement serves Section 226(a)’s basic purpose to “allow employees to maintain their
                                                   6
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 1    own records of wages earned, deductions, and pay received.” Id. at 2. The DLSE is the
 2    administrative agency entrusted to enforce the Labor Code. Accordingly, the DLSE’s
 3    opinion letters, while not controlling, “constitute a body of experience and informed
 4    judgment to which courts and litigants may properly resort for guidance.” Seymore v.
 5    Metson Marine, Inc., 194 Cal. App. 4th 361, 369 n.5 (2011).
 6          Consistent with the DLSE’s considered view, Costco gave employees electronic
 7    wage statements and the right to insist on paper statements. (SUF 4, 5, 9-13.) These
 8    wage statements are separate from the employees’ wages and appear in writing, easily
 9    accessible at any time, via the Internet or the Costco intranet. (SUF 4, 5, 11, 12.) Costco
10    also provided printed wage statements to employees upon request, free of charge, and
11    employees were able to print their wage statements for themselves, from the Costco break
12    room computer or from their personal computers. (SUF 13.) The electronic system also
13    enabled employees to keep a record of earned wages (SUF 12), further promoting the
14    informational purposes of Section 226.
15          Because Costco provided accurate, written wage statements, separate from the
16    employees’ actual payment of wages, in both electronic and printed format, Costco
17    complied with Section 226(a) as a matter of law.
18          B.     Costco Had A Good Faith Basis to Believe that Providing Electronic
19                 Wage Statements was Code Compliant
20          Even if the Court were to reject the DLSE’s interpretation of Section 226(a),
21    Costco would not be liable for Section 226(e) penalties, because the DLSE Opinion
22    provides a good-faith basis to believe that providing electronic wage statements was
23    sufficient. Accordingly, there was not a “knowing and intentional” violation of the
24    statute. Lab. Code § 226(e) (for employee to recover penalties under Section 226(e) for a
25    violation of Section 226(a), employer’s violation must have been “knowing and
26    intentional”); see Harris v. Vector Marketing Corp., 656 F. Supp. 2d 1128, 1145-46
27    (N.D. Cal. 2009) (summary adjudication warranted on Section 226(e) claim where record
28    lacked evidence that conduct was knowing or willful); Reber v. AIMCO/Bethesda

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 1    Holdings, Inc., 2008 WL 4384147, at *9 (C.D. Cal. Aug. 25, 2008) (summary
 2    adjudication appropriate on Section 226 claim because good-faith dispute as to whether
 3    employees are exempt precludes finding defendant’s conduct was knowing and
 4    intentional).
 5           The DLSE reasonably opined that electronic wage statements are a viable
 6    alternative to printed wage statements, fully in accordance with the informational purpose
 7    of Section 226, as long as the electronic wage statements are easily accessible and each
 8    employee retains the right to elect to receive a paper statement. Because Costco
 9    complied with these requirements, any alleged violation of Section 226(a) was not
10    “knowing and intentional” and Costco, as a matter of law, is not liable for penalties.
11           C.       Apodaca Was Not Injured
12           Even if the Court declines to adopt the DLSE’s interpretation of Section 226(a) and
13    holds that using electronic wage statements was a knowing and intentional violation of
14    the statute, Costco would still not be liable for penalties, because Apodaca did not suffer
15    an injury. Lab. Code §226(e) (“employee suffering an injury as a result of knowing and
16    intentional failure by an employer to comply with subdivision (a) is entitled to recover”
17    penalties) (emphasis added). Apodaca alleges that “it was a waste of time and money to
18    recover [her wage statements] electronically.” Complaint ¶ 9. But she could have
19    averted this “waste” simply by asking for paper wage statements, before the ePayroll
20    system went into effect in June 2011, or at any time thereafter. (SUF 5.) Accordingly,
21    there was no injury and Apodaca’s claim for penalties fails as a matter of law.
22    III.   COSTCO IS NOT LIABLE UNDER SECTION 226(A)(2) FOR FAILING TO REPORT

23           TOTAL HOURS WORKED

24           A.       Costco’s Wage Statements Listed Total Hours Worked
25           A wage statement complies with Section 226(a)(2)’s requirement to list “total
26    hours worked” if the statement lists the “actual number of regular hours worked and the
27    actual number of overtime hours worked during the applicable pay period.” Morgan v.
28    United Retail Inc., 186 Cal. App. 4th 1136, 1149 (2010) (affirming summary judgment

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 1    for employer where wage statement showed total regular hours worked and total overtime
 2    hours worked, without providing a grand total); see also Rubin v. Wal-Mart Stores, Inc.,
 3    599 F. Supp. 2d 1176, 1179 (N.D. Cal. 2009) (dismissing class action suit because
 4    separately listing total regular hours and total overtime hours, without adding them
 5    together, complied with the requirement to “include the total hours worked”). The wage
 6    statement need not separately list the grand total for all the various totals. 186 Cal. App.
 7    4th at 1147.4
 8           Here, under United Retail, Costco cannot be liable for violating Section 226(a)(2),
 9    because the wage statements list total recorded regular hours worked, total overtime
10    hours worked, and total doubletime hours worked. (SUF 16, 17.) Apodaca would prefer
11    yet another total—a grand total cumulating all hours worked of every description. But
12    creating that extra total is not clearly called for in the statute and would serve no
13    discernible purpose. The United Retail court was wise not to read such a requirement
14    into the statute.
15           B.       There Was an Objective, Good-Faith Basis for Costco to Believe its
16                    Wage Statements Listed Total Hours Worked
17           Even if the Court were to reject the ruling in United Retail, Costco would not be
18    liable for Section 226(e) penalties because the ruling provides an objective basis for
19    Costco to believe, in good faith, that its wage statements listed total hours worked.
20    Accordingly, there was not a “knowing and intentional” violation of the statute. Lab.
21    Code § 226(e); see Harris, 656 F. Supp. 2d at 1145-46 (summary adjudication warranted
22    on Section 226(e) claim where record lacked evidence that conduct was knowing or
23    willful).
24
25
26
      4
        The California Court of Appeal in United Retail held that because the defendant’s wage
27    statements complied with Section 226(a)(2), the court did not need to address whether
      class members suffered injury or whether the defendant’s alleged non-compliance was
28    knowing and intentional. Id. at 1149 n.9.
                                                    9
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 1         C.     Apodaca Was Not Injured
 2         A further independent reason to reject Apocaca’s claim for penalties is that she did
 3   not suffer an injury. Lab. Code §226(e) (“employee suffering an injury as a result of
 4   knowing and intentional failure by an employer to comply with subdivision (a) is entitled
 5   to recover” penalties) (emphasis added).
 6         To recover penalties for violations of Section 226(a), an employee must
 7   demonstrate an actual injury arising from the missing information—deprivation of that
 8   information and alleged resultant confusion is insufficient. Price v. Starbucks Corp., 192
 9   Cal. App. 4th 1136, 1143 (2011). “The injury requirement in section 226, subdivision
10   (e), cannot be satisfied simply if one of the nine itemized requirements in section 226,
11   subdivision (a) is missing from the wage statement.” Id. at 1142 (alleged confusion and
12   possible underpayment of wages was insufficient injury because wage statements did not
13   appear to be inaccurate); see also Elliot v. Spherion Pacific Work, LLC, 572 F. Supp. 2d
14   1169, 1181 (C.D. Cal. 2008) (distinguishing between “a defendant’s misconduct, on the
15   one hand, and a plaintiff’s injury on the other”; “the statute clearly requires that an
16   employee is not eligible to recover for violations of section 226(a) unless he or she
17   demonstrates some injury from the employer’s violation”) (emphasis in original); Nguyen
18   v. Baxter Healthcare Corp., 2011 WL 6018284, at *9 (C.D. Cal. Nov. 28, 2011)
19   (summary judgment granted because confusion and need to compute mathematical
20   calculations was insufficient injury).
21         Only when a plaintiff alleges that the information contained on the wage statement
22   is inaccurate is there sufficient injury to deny summary judgment. See Perez v. Safety-
23   Kleen Systems, Inc., 253 F.R.D. 508, 517 (N.D. Cal. 2008) (plaintiff’s hours were
24   admittedly recorded inaccurately on wage statement and plaintiff suffered difficulty and
25   expense in attempting to reconstruct hours worked); Jaimex v. DAIOHS USA, Inc., 181
26   Cal. App. 4th 1286, 1305-06 (2010) (wage statements listed 86.66 hours worked,
27   regardless of the actual hours worked, which left employees unable to determine if they
28   were properly paid for hours worked); Cicairos v. Summit Logistics, Inc., 133 Cal. App.

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 1   4th 949, 956 (2005) (wage statement listed 40 hours worked, regardless of number of
 2   hours actually worked).
 3         Here, Apodaca does not allege that her wage statements fail to reflect her recorded
 4   hours worked. She could easily have calculated the grant total of her recorded hours
 5   worked by adding together her regular, overtime, and doubletime hours.
 6   IV.   APODACA WAS NOT INJURED BY A FAILURE TO LIST REGULAR AND

 7         OVERTIME RATES

 8         As stated in the preceding section, to recover penalties for violations of Section
 9   226(a), an employee must demonstrate an actual injury arising from the missing
10   information—deprivation of that information and alleged resultant confusion is
11   insufficient. Price, 192 Cal. App. 4th at 1142-1143; see also Elliot, LLC, 572 F. Supp. 2d
12   at 1181; Nguyen, 2011 WL 6018284, at * 9. To overcome summary judgment, a plaintiff
13   must show that the information contained on her wage statement is inaccurate. See
14   Perez, 253 F.R.D. at 517; Jaimex, 181 Cal. App. 4th at 1305-06; Cicairos, 133 Cal. App.
15   4th at 956.
16         Apodaca, in merely alleging a failure to report her rates of pay, has not alleged a
17   cognizable injury. Her wage statements listed all of her recorded hours worked and the
18   amounts earned, per pay period and year to date, for regular pay, overtime pay, and
19   doubletime pay. (SUF 16, 17.) With this information, Apodaca could determine her rate
20   of pay in each category simply by dividing the amount paid by the hours worked. If use
21   of the pencil-and-paper method would be too cumbersome, a calculator found on any cell
22   phone or computer could easily facilitate that arithmetical task. Because Apodaca’s only
23   alleged injury from Costco’s failure to explicitly state her rates of pay is “confus[ion]”
24   and “derogation” of her rights, she has not suffered an injury and her claim fails as a
25   matter of law. Complaint ¶ 9.
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 1   V.       AS A FORMER EMPLOYEE, APODACA LACKS STANDING TO SEEK INJUNCTIVE

 2            RELIEF AND HER REQUEST FAILS AS A MATTER OF LAW

 3            The United States Supreme Court has held that “plaintiffs no longer employed by
 4   [defendant] lack standing to seek injunctive or declaratory relief against its employment
 5   practices.” Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2559-60, 180 L. Ed. 2d 374
 6   (2011). Applying this U.S. Supreme Court case, a federal district court has concluded
 7   “Dukes forecloses certification under 23(b)(2) [involving injunctive relief].” Chen-Oster
 8   v. Goldman, Sachs & Co., 2012 WL 2912741, at *5 (S.D.N.Y. July 17, 2012). The same
 9   result must obtain here: even though Apodaca was a Costco employee when she sued for
10   injunctive relief, her current lack of employment with Costco deprives her of standing to
11   pursue injunctive relief now.
12            Apodaca’s claim for injunctive relief fails as a matter of law because she is a
13   former and not a current employee. (SUF 15.) As such, she no longer receives wage
14   statements from Costco and could not expect to benefit from a reformed practice. Her
15   request for injunctive relief therefore fails as a matter of law.
16                                          CONCLUSION
17            Apodaca’s claims fail as a matter of law because (1) she was provided separate,
18   written wage statements, with the option to receive printed statements, (2) her wage
19   statements totaled all recorded hours, and (3) she suffered no injury as a result of any
20   calculation she needed to compute her wage rates.
21            Moreover, as a former employee, she lacks standing to seek injunctive relief.
22
23   DATED: September 13, 2012                  SEYFARTH SHAW LLP
24
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